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Everhart, Ian

From:                Matt Haverstick <mhaverstick@kleinbard.com>
Sent:                Thursday, August 1, 2024 5:42 PM
To:                  Kotula, Kathleen
Cc:                  Shohin Vance
Subject:             [External] Additional elector affidavit.
Attachments:         Peter Black - PA Elector Affidavit Declaration (EXECUTED).pdf


ATTENTION: This email message is from an external sender. Do not open links or attachments from unknown senders. To
report suspicious email, use the Report Phishing button in Outlook.

Ms. Kotula:
Please accept this additional elector affidavit. Thank you.




Matthew H. Haverstick
Managing Partner
Kleinbard LLC

Three Logan Square, 5th Floor
1717 Arch Street |Philadelphia, PA 19103
D | 215.496.7225
M| 484.753.1355
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                         Case 2:24-cv-01349-NR Document 29-6 Filed 10/07/24 Page 4 of 5


Certificate Of Completion
Envelope Id: D9156359C5CF4122A8DF1C57B37BC72C                                              Status: Completed
Subject: Complete with Docusign: Peter Black Docs.pdf
Source Envelope:
Document Pages: 4                                 Signatures: 4                            Envelope Originator:
Certificate Pages: 5                              Initials: 0
AutoNav: Enabled
EnvelopeId Stamping: Enabled
Time Zone: (UTC-05:00) Eastern Time (US & Canada)




Record Tracking
Status: Original                                  Holder:                                  Location: DocuSign
        8/1/2024 1:04:24 PM

Signer Events                                     Signature                                Timestamp
Peter Black                                                                                Sent: 8/1/2024 1:06:24 PM
petercraigblack@gmail.com                                                                  Resent: 8/1/2024 1:57:57 PM
Security Level: Email, Account Authentication                                              Viewed: 8/1/2024 4:11:05 PM
(None)                                                                                     Signed: 8/1/2024 4:58:49 PM
                                                  Signature Adoption: Pre-selected Style
                                                  Using IP Address: 72.77.41.151


Electronic Record and Signature Disclosure:
   Accepted: 8/1/2024 4:11:05 PM
   ID: b59c39eb-f804-449f-a70b-04558b4cb4ad


In Person Signer Events                           Signature                                Timestamp

Editor Delivery Events                            Status                                   Timestamp

Agent Delivery Events                             Status                                   Timestamp

Intermediary Delivery Events                      Status                                   Timestamp

Certified Delivery Events                         Status                                   Timestamp

Carbon Copy Events                                Status                                   Timestamp
                                                                                           Sent: 8/1/2024 1:06:24 PM
                                                                                           Viewed: 8/1/2024 4:59:39 PM
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Accepted: 11/29/2023 1:57:37 PM
   ID: cd4c0cda-291d-41f0-ad3a-22f12a0685a4

                                                                                           Sent: 8/1/2024 1:06:25 PM
                                                                                           Viewed: 8/1/2024 5:00:04 PM
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


Witness Events                                    Signature                                Timestamp

Notary Events                                     Signature                                Timestamp
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Envelope Summary Events              Status                         Timestamps
Envelope Sent                        Hashed/Encrypted               8/1/2024 1:06:25 PM
Certified Delivered                  Security Checked               8/1/2024 4:11:05 PM
Signing Complete                     Security Checked               8/1/2024 4:58:49 PM
Completed                            Security Checked               8/1/2024 4:58:49 PM

Payment Events                       Status                         Timestamps
Electronic Record and Signature Disclosure
